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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

ARKANSAS TEACHER RETIREMENT SYSTEM,
on behalf of itself and all others
 similarly situated,

                           Plaintiff,
                                                     No. 11-cv-10230-MLW
vs.                                                  Leave to File Under Seal
                                                     Requested 5/14/2018
STATE STREET BANK AND TRUST COMPANY,

                        Defendant.
____________________________________________/

ARNOLD HENRIQUEZ, MICHAEL T. COHN,
WILLIAM R. TAYLOR, RICHARD A.
SUTHERLAND, and those similarly situated,

                           Plaintiffs,
                                                     No. 11-cv-12049-MLW
vs.

STATE STREET BANK AND TRUST COMPANY,

                        Defendant.
____________________________________________/

THE ANDOVER COMPANIES EMPLOYEE
SAVINGS AND PROFIT SHARING PLAN, on
Behalf of itself, and JAMES PEHOUSHEK-
STANGELAND and all others similarly situated,

                           Plaintiffs,
                                                     No. 12-cv-11698-MLW

STATE STREET BANK AND TRUST COMPANY,

                        Defendant.
____________________________________________/


           SPECIAL MASTER’S MOTION TO SEAL FINAL REPORT AND
                          RECOMMENDATIONS
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       Pursuant to Local Rule 7.2, and as provided for in paragraphs 7 and 11 of the Court’s

March 8, 2017 Order, the Special Master hereby moves this Honorable Court to permit the

Special Master’s Report and Recommendations, including the Executive Summary and the

exhibits thereto (collectively, the “Report”), as well as the complete record of evidence compiled

in this case, to be filed under seal until further Court order. Pursuant to the March 8 Order, the

Special Master has “preserve[d] a complete record of the evidence concerning his recommended

findings of fact and [] conclusions of law.” March 8, 2017 Order, ¶ 11.

       WHEREFORE, Special Master respectfully requests that the Court permit the Report be

filed under seal.


Dated: May 14, 2018                           Respectfully submitted,

                                              SPECIAL MASTER HONORABLE
                                              GERALD E. ROSEN (RETIRED),

                                              By his attorneys,



                                                /s/ William F. Sinnott
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